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TYRONE LYLES,
Plaintiff,

vs. No. 05-1197-T-An

GOVERNOR PHIL BREDESEN, et al.,

Defendants.

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ORDER GRANTING MOTION TO PROCEED IN FORMA PAUPERIS
AND ASSESSING FILING FEE
AND GRANTING MOTION FOR VOLUNTARY DISMISSAL

 

Plaintiff Tyrone Lyles, presently an inmate at CBCX in Nashville, Tennessee, filed
this complaint under 42 U.S.C. § 1983 on July 13, 2005. Plaintiff also filed a motion to be
allowed to proceed informapauperis. Plaintiff has now sent a letter to the court, stating that
he no longer Wishes to pursue this matter. The Clerk of Court is DIRECTED to file the
letter as a motion for voluntary dismissal The motion to proceed in forma pauperis is
GRANTED, and the motion for voluntary dismissal is GRANTED.

Under the Prison Litigation Reform Act of 1995 (PLR_A), 28 U.S.C. § 1915(b), all
prisoners bringing a civil action must pay the full filing fee of $150 required by 28 U.S.C.
§ l9l4(a). The in forma pauperis srarute, 28 U.S.C. § 1915(a), merely provides the prisoner
the opportunity to make a "downpayrnent" of a partial filing fee and pay the remainder in
installments Therefore, it is ORDERED that the trust fund officer at plaintiffs prison shall
calculate a partial initial filing fee equal to twenty percent of the greater of the average
balance in or deposits to the plaintiffs trust fund account for the six months immediately
preceding the completion of the affidavit Wheii the account contains any funds, the trust
fund officer shall collect them and pay them directly to the Clerk of Court. If the funds in

plaintiffs account are insufficient to pay the full amount of the initial partial filing fee, the

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with Rule 58 and,’or_?Q (a) FF\'CP on 13 - |Q - CL‘>"

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prison official is instructed to withdraw all of the funds in the plaintiffs account and forward
them to the Clerk of Court. On each occasion that funds are subsequently credited to
plaintiffs account the prison official shall immediately withdraw those funds and forward
them to the Clerk of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs
account during the preceding month, but only when the amount in the account exceeds
$10.00, until the entire 3250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the court as required by this
order, he shall print a copy of the prisoner‘s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, lll S.
Highland, Room 262, Jackson, Tennessee 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.

lf plaintiff is transferred to a different prison or released, he is ORDERED to notify
the court immediately of his change of addressl If still confined he shall provide the officials
at the new prison with a copy of this order. If the plaintiff fails to abide by these or any
other requirement of this order, the court may impose appropriate sanctions, including a
monetary fine, without any additional notice or hearing by the court. The Clerk shall mail
a copy of this order to the prison official iri charge of prison trust fund accounts at plaintiffs
prison. The obligation to pay this filing fee was incurred upon the filing of the complaint

and continues despite the dismissal of the case. 28 U.S.C. § 191 S(e)(Z).

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Fed. R. Civ. P. 4l(a)(l) allows a plaintiff to voluntarily dismiss his case, without
leave of court, “at any time before service by the adverse party of an answer or of a motion
for summary judgment, whichever first occurs” or by filing a stipulation of dismissal signed
by all the parties. Otherwise, leave of court for a voluntary dismissal must be obtained
“upon such terms and conditions as the court deems proper.” Fed. R. Civ. P. 4l(a)(2).

Dcfendants have not filed an an Swer. Consequently, plaintiff is entitled to voluntarily

dismiss the action without prejudice The clerk is directed to enter judgment accordingly

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.TAMES D. TODD "`
UN ED STATES DISTRICT .TUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case l:OS-CV-Ol 197 was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

Tyrone L. Lyles
NWCX

289269

960 State Route 212
Tiptonville7 TN 38079

Honorable .l ames Todd
US DISTRICT COURT

